                                    Case 25-40045-lkg                    Doc 1    Filed 02/05/25              Page 1 of 65


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                        Chapter you are filing under:
                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                     Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Akachanee
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Albert
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and Annie Albert
     doing business as names. DBA Baan Thai Restaurant
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-8780
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
                                  Case 25-40045-lkg                 Doc 1         Filed 02/05/25         Page 2 of 65
Debtor 1   Akachanee Albert                                                                          Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 205 Lingale Avenue
                                 Marion, IL 62959
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Williamson
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                       Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                      I have another reason.                                        I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
                                  Case 25-40045-lkg                  Doc 1        Filed 02/05/25            Page 3 of 65
Debtor 1    Akachanee Albert                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                              Chapter 7
                                  Chapter 11
                                  Chapter 12
                                  Chapter 13

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the
                                  No.
     last 8 years?                Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy            No
    cases pending or being
    filed by a spouse who is      Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your              No.        Go to line 12.
    residence?
                                  Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                        this bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                    Case 25-40045-lkg                 Doc 1        Filed 02/05/25             Page 4 of 65
Debtor 1    Akachanee Albert                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time       No.       Go to Part 4.
    business?

                                    Yes.      Name and location of business

     A sole proprietorship is a
     business you operate as                   Baan Thai Restaurant
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
                                               2406 Williamson County Parkway
     partnership, or LLC.
                                               Suite E
     If you have more than one                 Marion, IL 62959
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                      None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code, and           operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    are you a small business       in 11 U.S.C. § 1116(1)(B).
    debtor?
    For a definition of small
    business debtor, see 11
                                    No.       I am not filing under Chapter 11.

    U.S.C. § 101(51D).
                                    No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                               Code.

                                    Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                    Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any          No.
    property that poses or is
    alleged to pose a threat        Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                                      Case 25-40045-lkg                 Doc 1        Filed 02/05/25        Page 5 of 65
Debtor 1    Akachanee Albert                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check        I received a briefing from an approved credit                I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your               I certify that I asked for credit counseling                 I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                        I am not required to receive a briefing about              I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                              Incapacity.                                              Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                              Disability.                                              Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                              Active duty.                                             Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                                  Case 25-40045-lkg                  Doc 1        Filed 02/05/25             Page 6 of 65
Debtor 1    Akachanee Albert                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                            No. Go to line 16b.
                                            Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            No. Go to line 16c.
                                            Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that         Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                No
     are paid that funds will
     be available for                       Yes
     distribution to unsecured
     creditors?

18. How many Creditors do
    you estimate that you
                                  1-49                                           1,000-5,000                                25,001-50,000
                                  50-99                                          5001-10,000                                50,001-100,000
    owe?
                                  100-199                                        10,001-25,000                              More than100,000
                                  200-999

19. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your assets to       $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
    be worth?
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

20. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your liabilities     $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
    to be?
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Akachanee Albert
                                 Akachanee Albert                                                  Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     February 5, 2025                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
                                 Case 25-40045-lkg                       Doc 1   Filed 02/05/25              Page 7 of 65
Debtor 1   Akachanee Albert                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Keith W. Kibler                                                Date         February 5, 2025
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Keith W. Kibler
                                Printed name

                                KIBLER LAW OFFICE
                                Firm name

                                Attorney at Law
                                208 North Market, PO Box 1224
                                Marion, IL 62959
                                Number, Street, City, State & ZIP Code

                                Contact phone     618-993-2196                               Email address         office@kibler-law.com
                                6180298 IL
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                        Case 25-40045-lkg                          Doc 1            Filed 02/05/25                    Page 8 of 65

Fill in this information to identify your case:

Debtor 1                   Akachanee Albert
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF ILLINOIS

Case number
(if known)
                                                                                                                                                                 Check if this is an
                                                                                                                                                                    amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $              75,000.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              39,973.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $             114,973.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $             107,795.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $              49,710.59

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $             405,432.06


                                                                                                                                    Your total liabilities $                 562,937.65


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 5,821.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 2,707.21

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

         Yes
7.     What kind of debt do you have?

        Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

              Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                       page 1 of 2
                               Case 25-40045-lkg                 Doc 1        Filed 02/05/25                Page 9 of 65
Debtor 1   Akachanee Albert                                                             Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                       $


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $

     9d. Student loans. (Copy line 6f.)                                                                $

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


     9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information          page 2 of 2
                                         Case 25-40045-lkg                            Doc 1          Filed 02/05/25             Page 10 of 65

Fill in this information to identify your case and this filing:

Debtor 1                    Akachanee Albert
                            First Name                                 Middle Name                     Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                     Last Name


United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF ILLINOIS

Case number                                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
   Yes. Where is the property?


1.1                                                                            What is the property? Check all that apply
       205 Lingale Avenue
                                                                                  Single-family home                             Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                                       Duplex or multi-unit building              the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                   Condominium or cooperative
                                                                                 
                                                                                  Manufactured or mobile home                    Current value of the      Current value of the
       Marion                            IL        62959-0000                     Land                                           entire property?          portion you own?
       City                              State              ZIP Code              Investment property                                  $150,000.00                   $75,000.00
                                                                                  Timeshare                                      Describe the nature of your ownership interest
                                                                                  Other                                          (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one     a life estate), if known.

                                                                                  Debtor 1 only                                  Joint tenant
       Williamson                                                                 Debtor 2 only
       County                                                                     Debtor 1 and Debtor 2 only
                                                                                  At least one of the debtors and another         Check    if this is community property
                                                                                                                                    (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:

                                                                               Owned property with ex-husband. Property awarded to ex-husband in
                                                                               divorce. Debtor's name was never removed from title to property or from
                                                                               mortgage debt. Ex-husband is responsible for and pays mortgage.
                                                                               Debtor pays rent to reside there.


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                         $75,000.00


Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                   page 1
                                   Case 25-40045-lkg                       Doc 1         Filed 02/05/25                 Page 11 of 65
Debtor 1        Akachanee Albert                                                                                    Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   Yes

  3.1   Make:      Nissan                                    Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
        Model:     Murano                                     Debtor 1 only                                                 Creditors Who Have Claims Secured by Property.
        Year:      2023                                       Debtor 2 only                                                 Current value of the      Current value of the
        Approximate mileage:                 17500            Debtor 1 and Debtor 2 only                                    entire property?          portion you own?
        Other information:                                    At least one of the debtors and another
        Purchased 2/13/2024
                                                              Check if this is community property                                   $26,795.00                 $26,795.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
   Yes


5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $26,795.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes. Describe.....
                                   Few household goods and furnishings                                                                                               $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
    Yes. Describe.....
                                   Cellphone
                                   Flatscreen
                                   Laptop
                                   Printer                                                                                                                           $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
    Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
    Yes. Describe.....

Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
                                            Case 25-40045-lkg                                 Doc 1              Filed 02/05/25      Page 12 of 65
Debtor 1          Akachanee Albert                                                                                                Case number (if known)

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes. Describe.....
                                           Debtor's clothing                                                                                                             $100.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes. Describe.....
                                           Rings: Diamond, Emerald, Ruby                                                                                                 $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
    Yes. Describe.....
                                           Pet Dog - No Value                                                                                                               $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes. Give specific information.....

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                               $1,600.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                     Cash                                   $0.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                             17.1.       Checking                               Regions Bank                                                                $0.00



                                             17.2.       Personal Checking                      Regions Bank                                                             $553.00

Official Form 106A/B                                                                     Schedule A/B: Property                                                             page 3
                                      Case 25-40045-lkg                  Doc 1          Filed 02/05/25            Page 13 of 65
Debtor 1        Akachanee Albert                                                                               Case number (if known)



                                       17.3.    Business Checking Regions Bank                                                                         $25.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
    Yes. Give specific information about them...................
                                         Name of entity:                                                        % of ownership:

                                         Baan Thai Restaurant                                                       100%          %                      $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
    Yes. Give specific information about them
                                         Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                       Type of account:                      Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
    Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
    Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
    Yes. Give specific information about them...
Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.
Official Form 106A/B                                                  Schedule A/B: Property                                                             page 4
                                       Case 25-40045-lkg                           Doc 1           Filed 02/05/25                    Page 14 of 65
Debtor 1        Akachanee Albert                                                                                                 Case number (if known)


28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                            Company name:                                                            Beneficiary:                              Surrender or refund
                                                                                                                                                               value:

                                            Term Life Insurance                                                      Suphanai Suwanne and
                                            $100,000 benefit/No cash value                                           Nutthiya Suwannee
                                            Insurance Company????                                                    (Debtor's Children)                                       $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    No
    Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes. Describe each claim.........
35. Any financial assets you did not already list
    No
    Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $578.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
   Yes. Go to line 38.
                                                                                                                                                              Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

Official Form 106A/B                                                          Schedule A/B: Property                                                                            page 5
                                       Case 25-40045-lkg                           Doc 1           Filed 02/05/25                    Page 15 of 65
Debtor 1        Akachanee Albert                                                                                                 Case number (if known)

38. Accounts receivable or commissions you already earned
    No
    Yes. Describe.....

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
    Yes. Describe.....

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
    Yes. Describe.....

                                       2 Rice Cookers, Freezers, Sandwich Press, Sandwich Salad unit, 6
                                       Foot Woks, Sunfire 6 Burner Stove,Range Hood and Fan, Dean
                                       Frymaster, 150 lb Ice Machine, Cooler, Signs, Booths, Chairs,
                                       Tables                                                                                                                   $10,000.00


41. Inventory
    No
    Yes. Describe.....

                                       Food and supply inventory at restaurant                                                                                    $1,000.00


42. Interests in partnerships or joint ventures
    No
    Yes. Give specific information about them...................
                                            Name of entity:                                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
   No.
   Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

              No
              Yes. Describe.....

44. Any business-related property you did not already list
    No
    Yes. Give specific information.........


45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................   $11,000.00

Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
      Yes. Go to line 47.

Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


Official Form 106A/B                                                          Schedule A/B: Property                                                                  page 6
                                         Case 25-40045-lkg                             Doc 1            Filed 02/05/25                      Page 16 of 65
Debtor 1         Akachanee Albert                                                                                                      Case number (if known)


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
    Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................           $75,000.00
56. Part 2: Total vehicles, line 5                                                                           $26,795.00
57. Part 3: Total personal and household items, line 15                                                       $1,600.00
58. Part 4: Total financial assets, line 36                                                                     $578.00
59. Part 5: Total business-related property, line 45                                                         $11,000.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $39,973.00              Copy personal property total       $39,973.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $114,973.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                     page 7
                                    Case 25-40045-lkg               Doc 1      Filed 02/05/25             Page 17 of 65

Fill in this information to identify your case:

Debtor 1               Akachanee Albert
                       First Name                    Middle Name                  Last Name

Debtor 2
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF ILLINOIS

Case number
(if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     205 Lingale Avenue Marion, IL 62959                                                                               735 ILCS 5/12-901
     Williamson County
                                                              $75,000.00                              $15,000.00
     Owned property with ex-husband.                                           100% of fair market value, up to
     Property awarded to ex-husband in                                              any applicable statutory limit
     divorce. Debtor's name was never
     removed from title to property or
     from mortgage debt. Ex-husband is
     responsible for and pays mortg
     Line from Schedule A/B: 1.1

     2023 Nissan Murano 17500 miles                                                                                    735 ILCS 5/12-1001(c)
     Purchased 2/13/2024
                                                              $26,795.00                                $2,400.00
     Line from Schedule A/B: 3.1                                               100% of fair market value, up to
                                                                                    any applicable statutory limit

     Few household goods and                                                                                           735 ILCS 5/12-1001(b)
     furnishings
                                                                   $500.00                                $500.00
     Line from Schedule A/B: 6.1                                               100% of fair market value, up to
                                                                                    any applicable statutory limit

     Cellphone                                                                                                         735 ILCS 5/12-1001(b)
     Flatscreen
                                                                   $500.00                                $500.00
     Laptop                                                                    100% of fair market value, up to
     Printer                                                                        any applicable statutory limit
     Line from Schedule A/B: 7.1


Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
                                Case 25-40045-lkg                Doc 1       Filed 02/05/25             Page 18 of 65

Debtor 1   Akachanee Albert                                                                    Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Debtor's clothing                                                                                                   735 ILCS 5/12-1001(a)
    Line from Schedule A/B: 11.1
                                                               $100.00                                  $100.00
                                                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Rings: Diamond, Emerald, Ruby                                                                                       735 ILCS 5/12-1001(b)
    Line from Schedule A/B: 12.1
                                                               $500.00                                  $500.00
                                                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Regions Bank                                                                                              735 ILCS 5/12-1001(b)
    Line from Schedule A/B: 17.1
                                                                  $0.00                                    $0.00
                                                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Personal Checking: Regions Bank                                                                                     735 ILCS 5/12-1001(b)
    Line from Schedule A/B: 17.2
                                                               $553.00                                  $553.00
                                                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Business Checking: Regions Bank                                                                                     735 ILCS 5/12-1001(b)
    Line from Schedule A/B: 17.3
                                                                $25.00                                   $25.00
                                                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Term Life Insurance                                                                                                 735 ILCS 5/12-1001(f)
    $100,000 benefit/No cash value
                                                                  $0.00                                    $0.00
    Insurance Company????                                                    100% of fair market value, up to
    Beneficiary: Suphanai Suwanne and                                            any applicable statutory limit
    Nutthiya Suwannee (Debtor's
    Children)
    Line from Schedule A/B: 31.1

    2 Rice Cookers, Freezers, Sandwich                                                                                  735 ILCS 5/12-1001(d)
    Press, Sandwich Salad unit, 6 Foot
                                                           $10,000.00                                 $1,500.00
    Woks, Sunfire 6 Burner Stove,Range                                       100% of fair market value, up to
    Hood and Fan, Dean Frymaster, 150                                            any applicable statutory limit
    lb Ice Machine, Cooler, Signs,
    Booths, Chairs, Tables
    Line from Schedule A/B: 40.1

    Food and supply inventory at                                                                                        735 ILCS 5/12-1001(b)
    restaurant
                                                            $1,000.00                                 $1,000.00
    Line from Schedule A/B: 41.1                                             100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
       No
       Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
                                        Case 25-40045-lkg                 Doc 1           Filed 02/05/25             Page 19 of 65

Fill in this information to identify your case:

Debtor 1                   Akachanee Albert
                           First Name                      Middle Name                     Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                     Last Name


United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF ILLINOIS

Case number
(if known)
                                                                                                                                              Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B               Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                           value of collateral.   claim                  If any

2.1
        Nissan Motor
        Acceptance Company                       Describe the property that secures the claim:                 $26,795.00               $26,795.00                   $0.00
        Creditor's Name
                                                 2023 Nissan Murano 17500 miles
                                                 Purchased 2/13/2024
        PO Box 254648
                                                 As of the date you file, the claim is: Check all that
        Sacramento, CA                           apply.
        95865-4648                                Contingent
        Number, Street, City, State & Zip Code    Unliquidated
                                                  Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                      car loan)
 Debtor 2 only
 Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another         Judgment lien from a lawsuit
 Check if this claim relates to a                Other (including a right to offset)    Automobile Purchase Loan
      community debt

Date debt was incurred          2/13/2024                 Last 4 digits of account number        9421




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
                                      Case 25-40045-lkg                    Doc 1           Filed 02/05/25              Page 20 of 65

Debtor 1 Akachanee Albert                                                                                 Case number (if known)
             First Name                  Middle Name                     Last Name


2.2    US Bank Home Mortgage                      Describe the property that secures the claim:                  $81,000.00           $150,000.00              $0.00
       Creditor's Name                            205 Lingale Avenue Marion, IL
                                                  62959 Williamson County
                                                  Owned property with ex-husband.
                                                  Property awarded to ex-husband in
                                                  divorce. Debtor's name was never
                                                  removed from title to property or
                                                  from mortgage debt. Ex-husband is
       PO Box 790414                              responsible fo
                                                  As of the date you file, the claim is: Check all that
       Saint Louis, MO                            apply.
       63179-0414                                  Contingent
       Number, Street, City, State & Zip Code      Unliquidated
                                                   Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another  Judgment lien from a lawsuit
 Check if this claim relates to a         Other (including a right to offset)            Mortgage with Ex-Husband
      community debt

Date debt was incurred         11/2008                     Last 4 digits of account number




  Add the dollar value of your entries in Column A on this page. Write that number here:                                $107,795.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                               $107,795.00

Part 2:    List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
                                        Case 25-40045-lkg                   Doc 1          Filed 02/05/25                 Page 21 of 65

Fill in this information to identify your case:

Debtor 1                   Akachanee Albert
                           First Name                      Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF ILLINOIS

Case number
(if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
       No. Go to Part 2.
       Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Illinois Department of Revenue                      Last 4 digits of account number                              $590.41              $590.41                 $0.00
             Priority Creditor's Name
             PO Box 19035                                        When was the debt incurred?
             Springfield, IL 62794-9035
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                            Unliquidated
        Debtor 2 only                                            Disputed
        Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

        At least one of the debtors and another                  Domestic support obligations
        Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                       Other. Specify
        Yes                                                                           Payroll Withholding Taxes Owed

2.2          Illinois Department of Revenue                      Last 4 digits of account number                            $3,514.00          $3,514.00                   $0.00
             Priority Creditor's Name
             PO Box 19035                                        When was the debt incurred?
             Springfield, IL 62794-9035
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                            Unliquidated
        Debtor 2 only                                            Disputed
        Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

        At least one of the debtors and another                  Domestic support obligations
        Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                       Other. Specify
        Yes                                                                           Sales Tax Owed


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 10
                                                                                                              27874
                                      Case 25-40045-lkg                     Doc 1           Filed 02/05/25                Page 22 of 65
Debtor 1 Akachanee Albert                                                                                 Case number (if known)

2.3        Internal Revenue Service                               Last 4 digits of account number                          $43,312.00             $43,312.00                    $0.00
           Priority Creditor's Name
           PO Box 7346                                            When was the debt incurred?           2021
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                             Unliquidated
        Debtor 2 only                                             Disputed
        Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

        At least one of the debtors and another                   Domestic support obligations
        Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
        Yes                                                                           Underpaid 2021 Income Tax

2.4        Internal Revenue Service                               Last 4 digits of account number                           $2,294.18              $1,702.77                 $591.41
           Priority Creditor's Name
           PO Box 7346                                            When was the debt incurred?
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                             Unliquidated
        Debtor 2 only                                             Disputed
        Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

        At least one of the debtors and another                   Domestic support obligations
        Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
        Yes                                                                           Payroll Withholding Tax Owed


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 10
                                  Case 25-40045-lkg              Doc 1           Filed 02/05/25              Page 23 of 65
Debtor 1 Akachanee Albert                                                                     Case number (if known)

4.1       Alternative Funding                             Last 4 digits of account number                                                   $38,720.62
          Nonpriority Creditor's Name
          2941 NW 62nd St                                 When was the debt incurred?
          Fort Lauderdale, FL 33309
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify

4.2       Citi Bank                                       Last 4 digits of account number       918                                         $10,779.19
          Nonpriority Creditor's Name
          PO Box 6500                                     When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Business Loan

4.3       Citibank                                        Last 4 digits of account number       6287                                        $12,564.85
          Nonpriority Creditor's Name
          PO Box 6500                                     When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Revolving Charges




Official Form 106 E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 10
                                  Case 25-40045-lkg              Doc 1           Filed 02/05/25              Page 24 of 65
Debtor 1 Akachanee Albert                                                                     Case number (if known)

4.4       Citibank                                        Last 4 digits of account number       9479                                        $14,681.44
          Nonpriority Creditor's Name
          PO Box 6500                                     When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Revolving Charge

4.5       Delta Bridge                                    Last 4 digits of account number                                                   $14,966.68
          Nonpriority Creditor's Name
          1421 Prince Street                              When was the debt incurred?
          Alexandria, VA 22314
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify

4.6       Discover Card                                   Last 4 digits of account number                                                   $19,471.00
          Nonpriority Creditor's Name
          2500 Lake Cook Road                             When was the debt incurred?
          Deerfield, IL 60015
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Revolving Charges




Official Form 106 E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 10
                                  Case 25-40045-lkg              Doc 1           Filed 02/05/25              Page 25 of 65
Debtor 1 Akachanee Albert                                                                     Case number (if known)

4.7       Discover Financial                              Last 4 digits of account number                                                    $8,824.64
          Nonpriority Creditor's Name
          PO Box 15316                                    When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Personal Loan

          DMKA LLC d/b/a The Smarter
4.8       Merchant                                        Last 4 digits of account number                                                    $9,355.00
          Nonpriority Creditor's Name
          c/o Attorney Yeshaya Gorkin                     When was the debt incurred?
          PO Box 605
          New York, NY 10038
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Business Debt

4.9       Fundamental Capital LLC d/b/a Nexi              Last 4 digits of account number       8985                                        $86,077.12
          Nonpriority Creditor's Name
          c/o Attorney Marcella G. Rabinovich             When was the debt incurred?
          100 Garden City Plaza
          Garden City, NY 11530
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Security Interest in Accounts Receivable




Official Form 106 E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 10
                                  Case 25-40045-lkg              Doc 1           Filed 02/05/25              Page 26 of 65
Debtor 1 Akachanee Albert                                                                     Case number (if known)

4.1
0         Green Box Capital                               Last 4 digits of account number                                                   $17,467.87
          Nonpriority Creditor's Name
          2200 Biscayne Blvd., Ste 200                    When was the debt incurred?
          Miami, FL 33137
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify

4.1
1         Henry S. Miller Realty Management               Last 4 digits of account number                                                   $31,047.80
          Nonpriority Creditor's Name
          c/o Cheney's Mathes Property Inc                When was the debt incurred?
          Attn: Cyndi Bembenek
          5151 Belt Line Road, Suite 900
          Dallas, TX 75254
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Rent owed for business premises

4.1
2         Navy Federal Credit Union                       Last 4 digits of account number       4530                                        $26,041.31
          Nonpriority Creditor's Name
          PO Box 3503                                     When was the debt incurred?
          Merrifield, VA 22119
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Revolving Charges




Official Form 106 E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 10
                                  Case 25-40045-lkg              Doc 1           Filed 02/05/25              Page 27 of 65
Debtor 1 Akachanee Albert                                                                     Case number (if known)

4.1
3         Navy Federal Credit Union                       Last 4 digits of account number                                                    $8,739.02
          Nonpriority Creditor's Name
          PO Box 3000                                     When was the debt incurred?           9/2023
          Vienna, VA 22180
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Business Loan

4.1
4         PNC                                             Last 4 digits of account number                                                    $4,755.45
          Nonpriority Creditor's Name
          PO Box 3429                                     When was the debt incurred?
          Pittsburgh, PA 15230
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Revolving Charges

4.1
5         Rapid Capital Financial                         Last 4 digits of account number                                                   $43,430.54
          Nonpriority Creditor's Name
          7523 Main St., #764                             When was the debt incurred?
          Flushing, NY 11367
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify




Official Form 106 E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 7 of 10
                                  Case 25-40045-lkg              Doc 1           Filed 02/05/25              Page 28 of 65
Debtor 1 Akachanee Albert                                                                     Case number (if known)

4.1
6         Regions Bank Visa                               Last 4 digits of account number       1994                                        $15,241.53
          Nonpriority Creditor's Name
          946 4th Street                                  When was the debt incurred?
          Eldorado, IL 62930
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Revolving Charge

4.1
7         Regions Bank Visa                               Last 4 digits of account number       7016                                        $10,422.44
          Nonpriority Creditor's Name
          946 4th Street                                  When was the debt incurred?
          Eldorado, IL 62930
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Revolving Charges

4.1
8         SIU Credit Union                                Last 4 digits of account number                                                   $12,423.12
          Nonpriority Creditor's Name
          Customer Service                                When was the debt incurred?
          PO Box 30495
          Tampa, FL 33630
          Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                  Contingent
           Debtor 2 only                                  Unliquidated
           Debtor 1 and Debtor 2 only                     Disputed
           At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community         Student loans
          debt                                             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                 report as priority claims

           No                                             Debts to pension or profit-sharing plans, and other similar debts
           Yes                                            Other. Specify Revolving charges to pay Medical to SIH




Official Form 106 E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 8 of 10
                                  Case 25-40045-lkg                   Doc 1           Filed 02/05/25              Page 29 of 65
Debtor 1 Akachanee Albert                                                                          Case number (if known)

4.1
9         Southern Illinois Healthcare                         Last 4 digits of account number                                                           $10,000.00
          Nonpriority Creditor's Name
          PO Box 3988                                          When was the debt incurred?
          Carbondale, IL 62902-3988
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify Medical

4.2
0         US Bank                                              Last 4 digits of account number                                                           $10,422.44
          Nonpriority Creditor's Name
          Cardmember Services                                  When was the debt incurred?
          PO Box 6339
          Fargo, ND 58125-6339
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify Revolving Charges

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Discover                                                 Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
PO Box 30923                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Salt Lake City, UT 84130
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Isaac H. Greenfield, Esq                                 Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
2 Executive Blvd, Ste. 305                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Suffern, NY 10901
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Sprechman & Fisher PA                                    Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
2775 Sunny Isles Blvd, Suite 100                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
North Miami Beach, FL 33160
                                                         Last 4 digits of account number


Part 4:     Add the Amounts for Each Type of Unsecured Claim



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 9 of 10
                                     Case 25-40045-lkg                      Doc 1        Filed 02/05/25                Page 30 of 65
Debtor 1 Akachanee Albert                                                                               Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.      $                49,710.59
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                49,710.59

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $              405,432.06

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              405,432.06




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 10
                                     Case 25-40045-lkg                   Doc 1   Filed 02/05/25          Page 31 of 65

Fill in this information to identify your case:

Debtor 1                Akachanee Albert
                        First Name                         Middle Name           Last Name

Debtor 2
(Spouse if, filing)     First Name                         Middle Name           Last Name


United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF ILLINOIS

Case number
(if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                        Name, Number, Street, City, State and ZIP Code

     2.1      Henry S. Miller Realty Management                                       Rent of Business Restaurant Property at 2406 Williamson
              c/o Cheney's Mathes Property Inc                                        County Parkway #E, Marion, IL 62959
              Attn: Cyndi Bembenek
              5151 Belt Line Road, Suite 900
              Dallas, TX 75254

     2.2      Steven Albert                                                           Oral lease for rent in amount of $1,000/month
              205 Lingale Avenue                                                      House owned by ex-husband/Ex-husband and Debtor
              Marion, IL 62959                                                        reside in house




Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
                                        Case 25-40045-lkg                     Doc 1   Filed 02/05/25     Page 32 of 65

Fill in this information to identify your case:

Debtor 1                   Akachanee Albert
                           First Name                           Middle Name           Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name           Last Name


United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF ILLINOIS

Case number
(if known)
                                                                                                                              Check if this is an
                                                                                                                                   amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
      Yes
      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


   3.1         Steven P. Albert                                                                        Schedule D, line     2.2
               205 Lingale Avenue                                                                      Schedule E/F, line
               Marion, IL 62959
                                                                                                       Schedule G
               Debtor's Exhusband.
                                                                                                      US Bank Home Mortgage
               Judgment of Dissolution of Marriage awards exhusband 100% of
               the home and 100% of the mortgage responsibility




Official Form 106H                                                                Schedule H: Your Codebtors                                   Page 1 of 1
                                   Case 25-40045-lkg              Doc 1     Filed 02/05/25            Page 33 of 65



Fill in this information to identify your case:

Debtor 1                      Akachanee Albert

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF ILLINOIS

Case number                                                                                             Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                  Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                 Employed
       attach a separate page with           Employment status
       information about additional                                  Not employed                             Not employed
       employers.
                                             Occupation             Owner/Operator
       Include part-time, seasonal, or
       self-employed work.                   Employer's name        Baan Thai Restaurant

       Occupation may include student        Employer's address
       or homemaker, if it applies.
                                                                    Marion, IL 62959

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
                              Case 25-40045-lkg               Doc 1         Filed 02/05/25             Page 34 of 65


Debtor 1    Akachanee Albert                                                                      Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $              0.00     $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $              0.00   $                 N/A
      5b.   Mandatory contributions for retirement plans                                   5b.     $              0.00   $                 N/A
      5c.   Voluntary contributions for retirement plans                                   5c.     $              0.00   $                 N/A
      5d.   Required repayments of retirement fund loans                                   5d.     $              0.00   $                 N/A
      5e.   Insurance                                                                      5e.     $              0.00   $                 N/A
      5f.   Domestic support obligations                                                   5f.     $              0.00   $                 N/A
      5g.   Union dues                                                                     5g.     $              0.00   $                 N/A
      5h.   Other deductions. Specify:                                                     5h.+    $              0.00 + $                 N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $         5,821.00      $               N/A
      8b. Interest and dividends                                                           8b.     $             0.00      $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.     $              0.00     $               N/A
      8e. Social Security                                                                  8e.     $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                  0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          5,821.00      $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           5,821.00 + $             N/A = $          5,821.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         5,821.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
                               Case 25-40045-lkg                     Doc 1         Filed 02/05/25           Page 35 of 65



Fill in this information to identify your case:

Debtor 1              Akachanee Albert                                                                     Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF ILLINOIS                                         MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to       Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2              age            live with you?

      Do not state the                                                                                                               No
      dependents names.                                                                                                              Yes
                                                                                                                                     No
                                                                                                                                     Yes
                                                                                                                                     No
                                                                                                                                     Yes
                                                                                                                                     No
                                                                                                                                     Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                    Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                         1,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                 4c.    $                           0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                           0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                           0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                       page 1
                               Case 25-40045-lkg                   Doc 1          Filed 02/05/25              Page 36 of 65


Debtor 1     Akachanee Albert                                                                          Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                 6c. $                                                 101.41
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                200.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                  20.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  348.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   89.50
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  498.30
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,707.21
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,707.21
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,821.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,707.21

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              3,113.79

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                         Case 25-40045-lkg        Doc 1    Filed 02/05/25          Page 37 of 65




Fill in this information to identify your case:

Debtor 1                    Akachanee Albert
                            First Name              Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name              Last Name


United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF ILLINOIS

Case number
(if known)
                                                                                                                           Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

        Yes. Name of person                                                                            Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                        Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Akachanee Albert                                               X
             Akachanee Albert                                                   Signature of Debtor 2
             Signature of Debtor 1

             Date       February 5, 2025                                        Date




Official Form 106Dec                               Declaration About an Individual Debtor's Schedules
                                       Case 25-40045-lkg               Doc 1       Filed 02/05/25             Page 38 of 65




Fill in this information to identify your case:

Debtor 1                  Akachanee Albert
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF ILLINOIS

Case number
(if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

       Married
             Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

       No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                          lived there                                                                        lived there
       1111 North Division Street                         From-To:                      Same as Debtor 1                                     Same as Debtor 1
       Carterville, IL 62918                              2022-2023                                                                          From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       No
             Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income               Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.           (before deductions
                                                                               exclusions)                                                    and exclusions)

For the calendar year before that:              Wages, commissions,                       $88,703.00          Wages, commissions,
(January 1 to December 31, 2023 )              bonuses, tips                                                  bonuses, tips

                                                Operating a business                                          Operating a business
Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
                                  Case 25-40045-lkg                     Doc 1       Filed 02/05/25             Page 39 of 65
Debtor 1     Akachanee Albert                                                                          Case number (if known)



                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      No
          Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)
For the calendar year before that:              Taxable Interest                              $1,374.00
(January 1 to December 31, 2023 )


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
      Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

          No
      Yes. List all payments to an insider.
      Insider's Name and Address                           Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                 paid            still owe




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
                                  Case 25-40045-lkg              Doc 1         Filed 02/05/25             Page 40 of 65
Debtor 1     Akachanee Albert                                                                     Case number (if known)



8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
      Yes. List all payments to an insider
      Insider's Name and Address                       Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                            paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

      No
          Yes. Fill in the details.
      Case title                                       Nature of the case          Court or agency                          Status of the case
      Case number
      DMKA LLC d/b/a The Smarter                       Breach of                   Supreme Court of State of                 Pending
      Merchant                                         Contract and                New York                                  On appeal
      v Akachanee Albert d/b/a Baan                    Guaranty                    County of Kings
                                                                                                                             Concluded
      Thai Restaurant                                  for default of              360 Adams Street, #4
      Unknown                                          Merchants                   Brooklyn, NY 11201
                                                       Agreement

      Fundamental Capital LLC d/b/a                    Collection                  Supreme Court of State of                 Pending
      Nexi                                             Suit/Arbitration            New York                                  On appeal
      v. Akachanee Albert d/b/a Baan                   Award                       County of Nassau
                                                                                                                             Concluded
      Thai                                                                         100 Supreme Court Drive
                                                                                   Mineola, NY 11501

      Merchant Capital Group LLC                       Collection                  Co Ct of 11th Judicial                    Pending
      v. Akachanee Albert                                                          Cir/Miami-Dade Co                         On appeal
      2024-085464-CC-23                                                            155 NW 3rd Street                         Concluded
                                                                                   Miami, FL 33128

      Alternative Funding Group Corp                   Collection                  Supreme Court of State of                 Pending
      v. Baan Thai Restaurant and                                                  NY, Monroe Co                             On appeal
      Akachanee Albert                                                             99 Exchange Blvd #545
                                                                                                                             Concluded
      E2024010685                                                                  Rochester, NY 14614


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

          No. Go to line 11.
      Yes. Fill in the information below.
      Creditor Name and Address                        Describe the Property                                         Date                        Value of the
                                                                                                                                                    property
                                                       Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
          No
      Yes. Fill in the details.
      Creditor Name and Address                        Describe the action the creditor took                         Date action was                   Amount
                                                                                                                     taken




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
                                  Case 25-40045-lkg                 Doc 1         Filed 02/05/25             Page 41 of 65
Debtor 1     Akachanee Albert                                                                        Case number (if known)



12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

          No
      Yes
Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
          No
      Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600               Describe the gifts                                       Dates you gave               Value
      per person                                                                                                        the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
          No
      Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total           Describe what you contributed                            Dates you                    Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

          No
      Yes. Fill in the details.
      Describe the property you lost and             Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                          Include the amount that insurance has paid. List pending           loss                           lost
                                                     insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      No
          Yes. Fill in the details.
      Person Who Was Paid                                      Description and value of any property                    Date payment            Amount of
      Address                                                  transferred                                              or transfer was          payment
      Email or website address                                                                                          made
      Person Who Made the Payment, if Not You
      KIBLER LAW OFFICE                                        Attorney Fees                                            2-20-2024               $1,000.00
      Attorney at Law
      208 North Market, PO Box 1224
      Marion, IL 62959
      office@kibler-law.com




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4
                                  Case 25-40045-lkg                     Doc 1         Filed 02/05/25             Page 42 of 65
Debtor 1      Akachanee Albert                                                                           Case number (if known)



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      No
          Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
                                                                                                                            made
      Creditor's Relief                                            Debtor does not know how much she                                                      $0.00
      333 Sullivan Avenue, Suite 105                               paid to this agency
      Englewood Cliffs, NJ 07632

      MCA Debt Advisors                                            Debtor does not know how much she                                                      $0.00
      1001 State Street, Suite 1400                                paid to this agency
      Erie, PA 16501


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
          Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
      Address                                                      property transferred                       payments received or debts      made
                                                                                                              paid in exchange
      Person's relationship to you
      Nissan                                                       Car trade on newer vehicle                 Trade in value on new
                                                                                                              Nissan



      Illinois Department of Revenue                               $1,700.00                                  Payment on debt per             1-30-2025
      PO Box 19035                                                                                            agreement with Creditor
      Springfield, IL 62794-9035



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
          No
      Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
          No
      Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,            before closing or
      Code)                                                                                                           moved, or                         transfer
                                                                                                                      transferred




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5
                                  Case 25-40045-lkg                    Doc 1           Filed 02/05/25              Page 43 of 65
Debtor 1     Akachanee Albert                                                                               Case number (if known)



21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

          No
      Yes. Fill in the details.
      Name of Financial Institution                              Who else had access to it?                 Describe the contents          Do you still
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City,                                            have it?
                                                                 State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

          No
      Yes. Fill in the details.
      Name of Storage Facility                                   Who else has or had access                 Describe the contents          Do you still
      Address (Number, Street, City, State and ZIP Code)         to it?                                                                    have it?
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)


Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

          No
      Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                     Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
      Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

          No
      Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
                                     Case 25-40045-lkg                 Doc 1            Filed 02/05/25          Page 44 of 65
Debtor 1      Akachanee Albert                                                                          Case number (if known)



26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
      Yes. Fill in the details.
       Case Title                                                 Court or agency                       Nature of the case                    Status of the
       Case Number                                                Name                                                                        case
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)


Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
      No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                        Describe the nature of the business               Employer Identification number
       Address                                                                                                Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                              Dates business existed
       Baan Thai Restaurant                                 Restaurant                                        EIN:         XX-XXXXXXX
       2406 Williamson County Parkway
       Suite E                                              Atlas CPAS & Advisors PLLC                        From-To
       Marion, IL 62959                                     2602 W. DeYoung
                                                            Marion, IL 62959


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
      Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)


Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Akachanee Albert
Akachanee Albert                                                      Signature of Debtor 2
Signature of Debtor 1

Date      February 5, 2025                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7
                                 Case 25-40045-lkg                   Doc 1         Filed 02/05/25              Page 45 of 65


Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

Debtor 1              Akachanee Albert                                                                        According to the calculations required by this
                                                                                                              Statement:
Debtor 2                                                                                                       1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                       11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:       Southern District of Illinois                                        2. Disposable income is determined under 11
                                                                                                                       U.S.C. § 1325(b)(3).
Case number
(if known)
                                                                                                               3. The commitment period is 3 years.
                                                                                                                   4. The commitment period is 5 years.

                                                                                                                Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                              10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
        Not married. Fill out Column A, lines 2-11.
        Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                 Column B
                                                                                                      Debtor 1                 Debtor 2 or
                                                                                                                               non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                                0.00      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $              0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                             0.00      $
  5. Net income from operating a business,
     profession, or farm                                           Debtor 1
       Gross receipts (before all deductions)                  $              30,424.00
       Ordinary and necessary operating expenses              -$              24,603.00
       Net monthly income from a business,                                                  Copy
       profession, or farm                                     $               5,821.00 here -> $               5,821.00       $
  6. Net income from rental and other real property                Debtor 1
       Gross receipts (before all deductions)                        $      0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from rental or other real property         $        0.00 Copy here -> $                    0.00      $




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1
                                 Case 25-40045-lkg                   Doc 1    Filed 02/05/25                 Page 46 of 65

Debtor 1     Akachanee Albert                                                                        Case number (if known)



                                                                                                 Column A                     Column B
                                                                                                 Debtor 1                     Debtor 2 or
                                                                                                                              non-filing spouse
                                                                                                 $                  0.00      $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                   $                  0.00      $
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                       $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                      0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                                                                                                 $                  0.00      $
                                                                                                 $                  0.00      $
                Total amounts from separate pages, if any.                                  +    $                  0.00      $

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $        5,821.00           +$                    =$          5,821.00

                                                                                                                                                  Total average
                                                                                                                                                  monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                $          5,821.00
  13. Calculate the marital adjustment. Check one:
            You are not married. Fill in 0 below.
       You are married and your spouse is filing with you. Fill in 0 below.
       You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                        $
                                                                                        $
                                                                                      +$

                   Total                                                               $                    0.00         Copy here=>          -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                         $          5,821.00

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                           $          5,821.00




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                      page 2
                                    Case 25-40045-lkg                   Doc 1         Filed 02/05/25                Page 47 of 65

Debtor 1     Akachanee Albert                                                                              Case number (if known)


                 Multiply line 15a by 12 (the number of months in a year).                                                                               x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $     69,852.00


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                                 IL

      16b. Fill in the number of people in your household.                      1
      16c. Fill in the median family income for your state and size of household.                                                                    $     67,617.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.        Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                       11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

      17b.            Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                       1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                       your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                   5,821.00
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                      0.00


      19b. Subtract line 19a from line 18.                                                                                                       $          5,821.00


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $      5,821.00

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $     69,852.00




      20c. Copy the median family income for your state and size of household from line 16c                                                          $     67,617.00


      21. How do the lines compare?

              Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                     period is 3 years. Go to Part 4.

                    Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                     commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Akachanee Albert
       Akachanee Albert
       Signature of Debtor 1
      Date February 5, 2025
           MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.
      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.
Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                           page 3
                           Case 25-40045-lkg           Doc 1      Filed 02/05/25          Page 48 of 65

Debtor 1   Akachanee Albert                                                       Case number (if known)




Official Form 122C-1   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period   page 4
                                Case 25-40045-lkg                 Doc 1      Filed 02/05/25           Page 49 of 65


Fill in this information to identify your case:

Debtor 1          Akachanee Albert

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:     Southern District of Illinois

Case number
(if known)                                                                                              Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                  04/22

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1:       Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
   the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
   information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
   expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
   122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

   5.     The number of people used in determining your deductions from income

          Fill in the number of people who could be claimed as exemptions on your federal income tax return,
          plus the number of any additional dependents whom you support. This number may be different from                   1
          the number of people in your household.



   National Standards              You must use the IRS National Standards to answer the questions in lines 6-7.



   6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
          Standards, fill in the dollar amount for food, clothing, and other items.                                              $            808.00


   7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
          the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
          people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
          higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                               Chapter 13 Calculation of Your Disposable Income                                           page 1
                                    Case 25-40045-lkg                  Doc 1      Filed 02/05/25             Page 50 of 65

Debtor 1         Akachanee Albert                                                                   Case number (if known)



   People who are under 65 years of age
           7a. Out-of-pocket health care allowance per person             $             83
           7b. Number of people who are under 65                          X         1
           7c. Subtotal. Multiply line 7a by line 7b.                     $        83.00             Copy here=>        $           83.00

   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person             $          158
           7e. Number of people who are 65 or older                       X         0
           7f.    Subtotal. Multiply line 7d by line 7e.                  $         0.00             Copy here=>        $             0.00

           7g. Total. Add line 7c and line 7f                                                $       83.00                   Copy total here=> $         83.00


   Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
    Housing and utilities - Insurance and operating expenses
    Housing and utilities - Mortgage or rent expenses
   To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
   separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
   8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
       in the dollar amount listed for your county for insurance and operating expenses.                               $               589.00
   9.      Housing and utilities - Mortgage or rent expenses:
           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses.                                                    $          865.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.
                  To calculate the total average monthly payment, add all amounts that are
                  contractually due to each secured creditor in the 60 months after you file
                  for bankruptcy. Next divide by 60.

                  Name of the creditor                                        Average monthly
                                                                              payment

                  -NONE-                                                      $


                                                                                                     Copy                                      Repeat this amount
                                   9b. Total average monthly payment          $              0.00    here=>        -$                  0.00 on line 33a.

           9c. Net mortgage or rent expense.

                  Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                  or rent expense). If this number is less than $0, enter $0.                           $               865.00        here=>    $          865.00


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                              $           236.00

            Explain why:      Rent is $1000 and Utilities are $101.




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                page 2
                                    Case 25-40045-lkg                    Doc 1          Filed 02/05/25                    Page 51 of 65

Debtor 1     Akachanee Albert                                                                                   Case number (if known)


   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.
   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                               $       239.00
   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.
    Vehicle 1         Describe Vehicle 1:
                                                2023 Nissan Murano 17500 miles Purchased 2/13/2024
   13a. Ownership or leasing costs using IRS Local Standard..................................................         $             619.00
   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                               Average monthly
                                                                                  payment
                Nissan Motor Acceptance Company                                   $              498.30

                                                                                                                                                  Repeat this
                                                                                                                 Copy                             amount on
                                       Total Average Monthly Payment              $              498.30          here =>       -$        498.30   line 33b.


   13c. Net Vehicle 1 ownership or lease expense                                                                                             Copy net
                                                                                                                                             Vehicle 1
           Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                  expense here
                                                                                                                      $             120.70   =>              $   120.70

    Vehicle 2         Describe Vehicle 2:
   13d. Ownership or leasing costs using IRS Local Standard..................................................         $               0.00
   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                               Average monthly
                                                                                  payment

                                                                                  $

                                                                                                                 Copy                          Repeat this
                                                                                                                 here                          amount on line
                                       Total average monthly payment              $                                                      0.00 33c.
                                                                                                                 =>       -$

   13f. Net Vehicle 2 ownership or lease expense                                                                                             Copy net
                                                                                                                                             Vehicle 2
           Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                expense here
                                                                                                                      $               0.00   =>              $     0.00

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                      $         0.00
   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
       also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
       not claim more than the IRS Local Standard for Public Transportation.                                                                             $         0.00




Official Form 122C-2                                     Chapter 13 Calculation of Your Disposable Income                                                        page 3
                                  Case 25-40045-lkg                Doc 1        Filed 02/05/25            Page 52 of 65

Debtor 1       Akachanee Albert                                                                   Case number (if known)



   Other Necessary Expenses            In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                       the following IRS categories.
   16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
       your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
       and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.                                                                              $         0.00
   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
       contributions, union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.          $         0.00
   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
       filing together, include payments that you make for your spouse's term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
       of life insurance other than term.                                                                                            $      348.00
   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
       administrative agency, such as spousal or child support payments.
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.     $         0.00
   20. Education: The total monthly amount that you pay for education that is either required:
            as a condition for your job, or
            for your physically or mentally challenged dependent child if no public education is available for similar services.    $         0.00
   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                     $         0.00
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                    $         0.00
   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                   +$         0.00

   24. Add all of the expenses allowed under the IRS expense allowances.                                                            $    3,288.70
       Add lines 6 through 23.
   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.
   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                          $            0.00
           Disability insurance                                      $            0.00
           Health savings account                                 +$              0.00

           Total                                                         $          0.00      Copy total here=>                     $          0.00


           Do you actually spend this total amount?
                 No. How much do you actually spend?
                  Yes                                                   $
   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                          $         0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
           By law, the court must keep the nature of these expenses confidential.                                                    $         0.00



Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                        page 4
                                  Case 25-40045-lkg               Doc 1        Filed 02/05/25              Page 53 of 65

Debtor 1     Akachanee Albert                                                                      Case number (if known)

   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
           If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
           8, then fill in the excess amount of home energy costs
           You must give your case trustee documentation of your actual expenses, and you must show that the additional
           amount claimed is reasonable and necessary.                                                                                   $             0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
           You must give your case trustee documentation of your actual expenses, and you must explain why the amount
           claimed is reasonable and necessary and not already accounted for in lines 6-23.
           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.          $             0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk's office.
           You must show that the additional amount claimed is reasonable and necessary.                                                 $             0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
           Do not include any amount more than 15% of your gross monthly income.                                                         $             0.00

   32. Add all of the additional expense deductions.                                                                                     $          0.00
       Add lines 25 through 31.

   Deductions for Debt Payment
   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
         To calculate the total average monthly payment, add all amounts that are contractually due to each secured
         creditor in the 60 months after you file for bankruptcy. Then divide by 60.
             Mortgages on your home                                                                                                  Average monthly
                                                                                                                                     payment
   33a.      Copy line 9b here                                                                                                  =>   $             0.00
             Loans on your first two vehicles
   33b.      Copy line 13b here                                                                                                 =>   $           498.30
   33c.      Copy line 13e here                                                                                                 =>   $             0.00
   33d.      List other secured debts:
   Name of each creditor for other secured debt          Identify property that secures the debt                     Does payment
                                                                                                                     include taxes
                                                                                                                     or insurance?
                                                                                                                      No
            -NONE-                                                                                                    Yes           $

                                                                                                                      No
                                                                                                                      Yes           $

                                                                                                                      No
                                                                                                                      Yes      +    $


                                                                                                                                Copy
                                                                                                                                total
   33e      Total average monthly payment. Add lines 33a through 33d                                   $              498.30    here=>       $   498.30




Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                                page 5
                                          Case 25-40045-lkg                             Doc 1      Filed 02/05/25               Page 54 of 65

Debtor 1      Akachanee Albert                                                                                         Case number (if known)

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

        No.           Go to line 35.
        Yes. State any amount that you must pay to a creditor, in addition to the payments
                       listed in line 33, to keep possession of your property (called the cure amount).
                       Next, divide by 60 and fill in the information below.
    Name of the creditor                                         Identify property that secures the debt                    Total cure amount                     Monthly cure
                                                                                                                                                                  amount
    -NONE-                                                                                                              $                              ÷ 60 = $

                                                                                                                                                          Copy
                                                                                                                                                          total
                                                                                                                 Total $                        0.00      here=>           $         0.00

   35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
        No.           Go to line 36.
        Yes. Fill in the total amount of all of these priority claims. Do not include current or
                       ongoing priority claims, such as those you listed in line 19.
                         Total amount of all past-due priority claims                                                       $           49,119.18          ÷ 60        $          818.66
   36. Projected monthly Chapter 13 plan payment                                                                            $
       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).                                           X
       To find a list of district multipliers that includes your district, go online using the link specified in the
       separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                        Copy total
       Average monthly administrative expense                                                                                   $                       here=> $



   37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                           $       1,316.96


   Total Deductions from Income
   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                                      $        3,288.70
           Copy line 32, All of the additional expense deductions                                  $              0.00
           Copy line 37, All of the deductions for debt payment                                   +$        1,316.96


           Total deductions....................................................................   $         4,605.66                Copy total here=>              $             4,605.66




Official Form 122C-2                                                 Chapter 13 Calculation of Your Disposable Income                                                             page 6
                              Case 25-40045-lkg                 Doc 1       Filed 02/05/25              Page 55 of 65

Debtor 1   Akachanee Albert                                                                     Case number (if known)



Part 2:     Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

   39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
       Statement of Your Current Monthly Income and Calculation of Commitment Period.                                        $                  5,821.00
   40. Fill in any reasonably necessary income you receive for support for dependent
       children. The monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I of Form 122C-1, that you
       received in accordance with applicable nonbankruptcy law to the extent reasonably
       necessary to be expended for such child.                                                         $                 0.00
   41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
       employer withheld from wages as contributions for qualified retirement plans, as specified
       in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
       specified in 11 U.S.C. § 362(b)(19).                                                             $                 0.00
   42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here          =>    $            4,605.66
   43. Deduction for special circumstances. If special circumstances justify additional
       expenses and you have no reasonable alternative, describe the special circumstances and
       their expenses. You must give your case trustee a detailed explanation of the special
       circumstances and documentation for the expenses.

   Describe the special circumstances                                              Amount of expense

                                                                               $

                                                                               $

                                                                               $

                                                                                                       Copy
                                                                    Total $                0.00        here=> $                  0.00


                                                                                                                            Copy
   44. Total adjustments. Add lines 40 through 43.                                         =>      $          4,605.66      here=> -$           4,605.66


   45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                               $          1,215.34


Part 3:     Change in Income or Expenses

   46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
       have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
       time your case will be open, fill in the information below. For example, if the wages reported increased after
       you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
       wages increased, fill in when the increase occurred, and fill in the amount of the increase.

   Form          Line         Reason for change                                     Date of change          Increase or      Amount of change
                                                                                                            decrease?
    122C-1                                                                                                  Increase
    122C-2                                                                                                  Decrease       $
    122C-1                                                                                                  Increase
    122C-2                                                                                                  Decrease       $
    122C-1                                                                                                  Increase
    122C-2                                                                                                  Decrease       $
    122C-1                                                                                                  Increase
    122C-2                                                                                                  Decrease       $




Official Form 122C-2                              Chapter 13 Calculation of Your Disposable Income                                               page 7
                                 Case 25-40045-lkg                Doc 1        Filed 02/05/25            Page 56 of 65

Debtor 1     Akachanee Albert                                                                    Case number (if known)




Part 4:        Sign Below



           By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X /s/ Akachanee Albert
            Akachanee Albert
            Signature of Debtor 1
   Date February 5, 2025
        MM / DD / YYYY




Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                              page 8
                                Case 25-40045-lkg                  Doc 1        Filed 02/05/25         Page 57 of 65


Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
                                Case 25-40045-lkg                  Doc 1        Filed 02/05/25           Page 58 of 65



       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
                                Case 25-40045-lkg                  Doc 1        Filed 02/05/25          Page 59 of 65

       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
                                Case 25-40045-lkg                  Doc 1        Filed 02/05/25          Page 60 of 65

                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4
                                 Case 25-40045-lkg                   Doc 1     Filed 02/05/25            Page 61 of 65
B2030 (Form 2030) (12/15)
                                                       United States Bankruptcy Court
                                                              Southern District of Illinois
 In re       Akachanee Albert                                                                                 Case No.
                                                                              Debtor(s)                       Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                   4,000.00
             Prior to the filing of this statement I have received                                        $                   1,000.00
             Balance Due                                                                                  $                   3,000.00

2.   $      313.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

              Debtor            Other (specify):

4.   The source of compensation to be paid to me is:

              Debtor            Other (specify):

5.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     February 5, 2025                                                         /s/ Keith W. Kibler
     Date                                                                     Keith W. Kibler
                                                                              Signature of Attorney
                                                                              KIBLER LAW OFFICE
                                                                              Attorney at Law
                                                                              208 North Market, PO Box 1224
                                                                              Marion, IL 62959
                                                                              618-993-2196 Fax: 618-993-2198
                                                                              office@kibler-law.com
                                                                              Name of law firm
                         Case 25-40045-lkg     Doc 1     Filed 02/05/25     Page 62 of 65




                                      United States Bankruptcy Court
                                            Southern District of Illinois
In re   Akachanee Albert                                                       Case No.
                                                         Debtor(s)             Chapter    13




                                  VERIFICATION OF CREDITOR MATRIX



                The above named Debtor(s) hereby verify that the attached list of creditors is true and
        correct to the best of my/our knowledge and that it corresponds to the creditors listed in my/our
        schedules.


Date: February 5, 2025                        /s/ Akachanee Albert
                                              Akachanee Albert
                                              Signature of Debtor
    Case 25-40045-lkg   Doc 1   Filed 02/05/25   Page 63 of 65



x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




            Alternative Funding
            2941 NW 62nd St
            Fort Lauderdale, FL 33309


            Citi Bank
            PO Box 6500
            Sioux Falls, SD 57117


            Citibank
            PO Box 6500
            Sioux Falls, SD 57117


            Delta Bridge
            1421 Prince Street
            Alexandria, VA 22314


            Discover
            PO Box 30923
            Salt Lake City, UT 84130


            Discover Card
            2500 Lake Cook Road
            Deerfield, IL 60015


            Discover Financial
            PO Box 15316
            Wilmington, DE 19850


            DMKA LLC d/b/a The Smarter Merchant
            c/o Attorney Yeshaya Gorkin
            PO Box 605
            New York, NY 10038


            Fundamental Capital LLC d/b/a Nexi
            c/o Attorney Marcella G. Rabinovich
            100 Garden City Plaza
            Garden City, NY 11530


            Green Box Capital
            2200 Biscayne Blvd., Ste 200
            Miami, FL 33137
Case 25-40045-lkg   Doc 1   Filed 02/05/25   Page 64 of 65




        Henry S. Miller Realty Management
        c/o Cheney's Mathes Property Inc
        Attn: Cyndi Bembenek
        5151 Belt Line Road, Suite 900
        Dallas, TX 75254


        Illinois Department of Revenue
        PO Box 19035
        Springfield, IL 62794-9035


        Internal Revenue Service
        PO Box 7346
        Philadelphia, PA 19101-7346


        Isaac H. Greenfield, Esq
        2 Executive Blvd, Ste. 305
        Suffern, NY 10901


        Navy Federal Credit Union
        PO Box 3503
        Merrifield, VA 22119


        Navy Federal Credit Union
        PO Box 3000
        Vienna, VA 22180


        Nissan Motor Acceptance Company
        PO Box 254648
        Sacramento, CA 95865-4648


        PNC
        PO Box 3429
        Pittsburgh, PA 15230


        Rapid Capital Financial
        7523 Main St., #764
        Flushing, NY 11367


        Regions Bank Visa
        946 4th Street
        Eldorado, IL 62930
Case 25-40045-lkg   Doc 1   Filed 02/05/25   Page 65 of 65




        SIU Credit Union
        Customer Service
        PO Box 30495
        Tampa, FL 33630


        Southern Illinois Healthcare
        PO Box 3988
        Carbondale, IL 62902-3988


        Sprechman & Fisher PA
        2775 Sunny Isles Blvd, Suite 100
        North Miami Beach, FL 33160


        Steven Albert
        205 Lingale Avenue
        Marion, IL 62959


        Steven P. Albert
        205 Lingale Avenue
        Marion, IL 62959


        US Bank
        Cardmember Services
        PO Box 6339
        Fargo, ND 58125-6339


        US Bank Home Mortgage
        PO Box 790414
        Saint Louis, MO 63179-0414
